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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              Case No. 8:12CR418
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )                    ORDER
CHRISTOPHER BATES, et al.,                   )
                                             )
                     Defendants.             )



       This case is before the court on the government's Motion for Protective Order (#56),

the City of Omaha's Motion to Quash Subpoena Duces Tecum and for Issuance of

Protective Order (#57), and defendant Christopher Bates' Motion for Contempt Certification

and Hearing (#58).

       A partial hearing on the motions was held on May 20, 2013, during which the court

ordered that the documents subpoenaed from the Omaha Police Department in both their

redacted and unredacted form be delivered to the court for an in camera review.

       The court has received the documents in their redacted and unredacted form and

reviewed the contents. The court finds the government's Motion for Protective Order and

the City of Omaha's Motion to Quash Subpoena Duces Tecum and for Issuance of a

Protective Order (#57), should be denied as the third-party subpoena falls within the scope

of discovery permitted by Fed.R.Crim.P. 17(c).       The reports of the Omaha Police

Department at issue in their unredacted form should be delivered to defendant's counsel no

later than 11:00 A.M., Thursday, June 13, 2013.
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        IT IS ORDERED:

        1. The government's Motion for Protective Order (#56) and the City of Omaha's

Motion to Quash Subpoena Duces Tecum and for Issuance of Protective Order (#57) are

denied.

        2. The reports of the Omaha Police Department at issue in their unredacted form

should be delivered to defendant's counsel no later than 11:00 A.M., Thursday, June 13,

2013.

        3. Defendant Christopher Bates' Motion for Contempt Certification and Hearing (#58)

is held in abeyance pending further hearing.

        Dated this 6th day of June 2013.


                                           BY THE COURT:


                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge




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